                 CASE 0:07-cv-04929-DSD-JJK Document 98 Filed 10/19/10 Page 1 of 1

                          IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                                              CIVIL JURY TRIAL
Katie J. Felder, as trustee for the next of kin                          COURT MINUTES
of Dominic Aries Felder                                           Case Number: 07-4929(DSD/JJK)
                          Plaintiff,
  v.                                                    Date:                   October 19, 2010
                                                        Court Reporters:        Mousseau, Beauvais &
Jason King, individually, et al.                                                Weinbeck
                        Defendants.                     Time:                   9:00 a.m.-12:00 p.m.
                                                                                1:15 p.m.-5:00 p.m.
                                                        Time in Court:          6 Hours & 45 Minutes

Trial before David S. Doty, United States District Judge, at Minneapolis, Minnesota.

APPEARANCES:

    For Plaintiff:    James Behrenbrinker & Douglas Micko
    For Defendant:    Timothy Skarda & Sara Lathrop

PROCEEDINGS:

    : JURY Trial Held.
    : Plaintiff’s witnesses: Recalled Tiana Wilson; Teri Williams, Jason King, Lawrence Loonsfoot, & Richard
                             Ernest via videotape.
    : Trial continued to 10/20/2010 at 9:00 a.m.

CLERK'S USE ONLY:

    9 Number of trial days with evidence - .
    9 Exhibits returned to counsel or parties.

                                                                                             s/C.B.
                                                                                           Calendar Clerk




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